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     8                          UNITED STATES DISTRICT COURT
     9                         CENTRAL DISTRICT OF CALIFORNIA
    10                                   WESTERN DIVISION
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    12   Jenny Lisette Flores, et al.,              Case No.: CV 85-4544-DMG (AGRx)

    13                  Plaintiffs,                 ORDER GRANTING
                                                    APPLICATION FOR LEAVE TO
    14         v.                                   FILE UNDER SEAL PORTIONS
                                                    OF EXHIBITS SUBMITTED IN
    15   William P. Barr, Attorney General of the   SUPPORT OF PLAINTIFFS’ EX
         United States, et al.,                     PARTE APPLICATION FOR
    16                                              TEMPORARY RESTRAINING
                        Defendants.                 ORDER AND ORDER TO SHOW
    17                                              CAUSE WHY A PRELIMINARY
                                                    INJUNCTION AND CONTEMPT
    18                                              ORDER SHOULD NOT ISSUE
                                                    [569]
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     1         On June 26, 2019, Plaintiffs filed an Unopposed Application for leave to file
     2   under seal portions of the Exhibits they offer in support of their Ex Parte Application
     3   for a Temporary Restraining Order (“Sealing Application”). [Doc. # 569.] Having
     4   considered the papers submitted by Plaintiffs and having reviewed the material that
     5   they seek to seal, the Court finds that Plaintiffs’ request is narrowly tailored to seal
     6   only that material for which compelling reasons have been established. The Court
     7   therefore GRANTS Plaintiffs’ Sealing Application and issues the following rulings:
     8   1. Pursuant to Local Rule 79-5.2.2(c), Plaintiffs shall refile under seal the
     9       unredacted versions of the declarations belonging to Class Members, Class
    10       Members’ relatives, Dr. Dolly Lucio Sevier, Elora Mukherjee, and Kathleen
    11       O’Gorman, along with the “Ursula Visit” chart, which are found in Docket Entry
    12       Nos. 570-1, 570-2, 570-3, 570-4, 570-5, and 570-6, within three (3) days of the
    13       date of this Order; and
    14   2. Within three (3) days of the date of this Order, Plaintiffs shall refile on the
    15       public docket the redacted versions of the aforementioned documents that are
    16       found in Docket Entry Nos. 569-2, 569-3, 569-4, 569-5, 569-6, 569-7, 569-8,
    17       569-9, 569-10, 569-11, and 569-12.
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    19   IT IS SO ORDERED.
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         DATED: June 27, 2019
    22                                                DOLLY M. GEE
                                                      UNITED STATES DISTRICT JUDGE
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